Case 1:20-cr-O0086-KMW Document 49 Filed 12/30/20 Page 1 of 1
Case 1:20-cr-O0086-KMW Document 48 Filed 12/29/20 Page 51 of 51

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

USDC SDNY
DOCUMENT

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UNITED STATES OF AMERICA ORDER | SARE FILED: \al3 Dp] a -
Fy 20 Cr. 86 (KMW)

JOSHEPH IORHEMBA ASAN, JR.,

Defendant.

WHEREAS, with the defendant JOSEPH IORHEMBA ASAN, JR.'s
consent, his guilty plea allocution was made before a United
States Magistrate Judge on December 23, 2020;

WHEREAS, a transcript of the allocution was made and
thereafter was transmitted to the District Court; and

WHEREAS, upon review of that transcript, this Court
has determined that the defendant entered the guilty plea
knowingly and voluntarily and that there was a factual basis for
the guilty plea;

IT IS HEREBY ORDERED that the defendant's guilty plea
is accepted.

SO ORDERED:

Dated: New York, New York
cemhr SO, 2020

luton Wn. Wart
THE HONORABLE KIMBA M. WOOD

UNITED STATES DISTRICT JUDGE
SOUTHERN DISTRICT OF NEW YORK
